      Case: 1:22-cv-01904 Document #: 16 Filed: 06/17/22 Page 1 of 6 PageID #:45




                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS

                                                          )
KEN MCDOWELL, individually and on                         )
behalf of those similarly situated,                       )
                                                          )   No.: 1-22-cv-01688
                            Plaintiff,                    )
                                                          )   Honorable Franklin U. Valderrama
v.                                                        )
                                                          )
MCDONALD’S CORPORATION,                                   )
                                                          )
                            Defendant.                    )
-----------------------------------------------------------
                                                          )
                                                          )
JOSEPH COLLORA, individually and on                       )
behalf of those similarly situated,                       )
                                                          )   No.: 1-22-cv-01904
                            Plaintiff,                    )
                                                          )   Honorable Franklin U. Valderrama
v.                                                        )
                                                          )
MCDONALD’S CORPORATION,                                   )
                                                          )
                            Defendant.                    )
-----------------------------------------------------------


                  AGREED MOTION FOR CONSOLIDATION OF CASES,
               BRIEFING SCHEDULE, AND INITIAL STATUS CONFERENCE



        Plaintiff KEN McDOWELL in No. 1-22-cv-01688 (“McDowell”), Plaintiff JOSEPH

COLLORA in No. 1-22-cv-01904 (“Collora”), and Defendant MCDONALD’S

CORPORATION (“McDonald’s”) in both cases, through undersigned counsel, respectfully

request that this Court consolidate these above-referenced cases for all purposes and issue an

order setting the case schedule proposed below.

          1.     McDowell filed his Complaint on March 31, 2022 in McDowell v.

 McDonald’s Corporation (1:22-cv-01688), and served McDonald’s with the same on April
    Case: 1:22-cv-01904 Document #: 16 Filed: 06/17/22 Page 2 of 6 PageID #:46




4, 2022. Pursuant to two agreed motions, the current deadline for McDonald’s responsive

pleading is June 20, 2022. (ECF Nos. 6 and 12 in No. 1-22-cv-01688.)

        2.     Plaintiff Joseph Collora filed his Complaint in the related matter, Collora v.

McDonald’s Corporation (1:22-cv-01904), on April 13, 2022, and served McDonald’s

with the same on April 20, 2022 via a request for waiver of service, resulting in a docketed

responsive pleading deadline of June 20, 2022. (ECF No. 6 in No 1:22-cv-01904.)

        3.     On May 13, 2022, this Court granted Plaintiff McDowell’s unopposed

motion to relate the McDowell and Collora cases. (ECF No. 10 in No. 1:22-cv-01688.)

This Court set a deadline of June 14, 2022 for the parties to file a joint initial status report.

(ECF No. 10 in No. 1:22-cv-01904.) That date was later extended to June 27, 2022 (ECF

No. 12 in No. 1-22-cv-01688.)

        4.     A third case, Clark, et al. v. McDonald’s Corp., No. 3:22-cv-00628-NJR

(S.D. Ill.), involves substantially similar allegations and is presently pending in the

Southern District of Illinois. In that case, on June 1, 2022, McDonald’s filed a motion to

dismiss and/or transfer the case, and the plaintiffs’ opposition is due on July 1, 2022. (ECF

No. 26-28 in No. 3:22-cv-00628-NJR (S.D. Ill.).) No reply brief or live hearing is

anticipated.

        5.     Counsel in all three cases have met and conferred on case management issues

in an attempt to create efficiencies for the courts and the parties. Those efforts have not

resulted in agreement with respect to the Clark (S.D. Ill.) case, but they have resulted in

this proposal for consolidation, a briefing schedule on McDonald’s anticipated motion to

dismiss, and a schedule for the initial status conference.

        6.     WHEREFORE, Plaintiffs McDowell and Collora and Defendant

McDonald’s respectfully request that the Court (a) consolidate the McDowell and Collora

cases under Case No. 1-22-cv-01688; (b) set a July 1, 2022 deadline for plaintiffs

McDowell and Collora to file a Consolidated Amended Complaint (“CAC”); and (c) set

the following case schedule, if it comports with the Court’s calendar:

                                                  2
     Case: 1:22-cv-01904 Document #: 16 Filed: 06/17/22 Page 3 of 6 PageID #:47




                      August 12, 2022: Deadline for McDonald’s to move to dismiss and

                       otherwise respond to the CAC

                      September 22, 2022: Deadline for McDowell and Collora to oppose

                       McDonald’s motion

                      October 6, 2022: Deadline for McDonald’s to reply to McDowell

                       and Collora’s opposition

                      October 10, 2022: Deadline for the parties to meet and confer

                       regarding the Initial Status Report

                      October 31, 2022: Deadline for the parties to submit the Initial

                       Status Report

Dated: June 17, 2022                          Respectfully submitted,

                                              For Plaintiff Joseph Collora:

                                              SHUB LAW FIRM LLC

                                              /s/ Kevin Laukaitis
                                              Jonathan Shub
                                              Kevin Laukaitis
                                              SHUB LAW FIRM LLC
                                              134 Kings Hwy E., 2nd Fl
                                              Haddonfield, NJ 08033
                                              T: (856) 772-7200
                                              klaukaitis@shublawyers.com
                                              jshub@shublawyers.com

                                              Brian M. Hogan
                                              FREED KANNER LONDON & MILLEN LLC
                                              2201 Waukegan Road, Suite 130
                                              Bannockburn, IL 60015
                                              T: (224) 632-4500
                                              bhogan@fkmlaw.com.

                                              Jonathan M. Jagher
                                              FREED KANNER LONDON & MILLEN LLC
                                              923 Fayette Street
                                              Conshohocken, PA 19428
                                              T: (610) 234-6487

                                                  3
Case: 1:22-cv-01904 Document #: 16 Filed: 06/17/22 Page 4 of 6 PageID #:48



                                   jjagher@fkmlaw.com


                                   For Plaintiff Ken McDowell

                                   /s/ Carl V. Malmstrom
                                   WOLF HALDENSTEIN ADLER
                                   FREEMAN & HERZ LLC
                                   Carl V. Malmstrom
                                   111 W. Jackson St., Suite 1700
                                   Chicago, IL 60604
                                   Telephone: (312) 984-0000
                                   Fax: (212) 686-0114
                                   Email: malmstrom@whafh.com

                                   BURSOR & FISHER, P.A.
                                   L. Timothy Fisher (Pro Hac Vice Forthcoming)
                                   Sean L. Litteral (Pro Hac Vice Forthcoming)
                                   Julia K. Venditti (Pro Hac Vice Forthcoming)
                                   1990 North California Boulevard, Suite 940
                                   Walnut Creek, CA 94596
                                   Telephone: (925) 300-4455
                                   Facsimile: (925) 407-2700
                                   Email: ltfisher@bursor.com
                                   slitteral@bursor.com
                                   jvenditti@bursor.com

                                   BURSOR & FISHER, P.A.
                                   Joshua D. Arisohn (Pro Hac Vice Forthcoming)
                                   Alec M. Leslie (Pro Hac Vice Forthcoming)
                                   888 Seventh Avenue
                                   New York, NY 10019
                                   Telephone: (646) 837-7150
                                   Facsimile: (212) 989-9163
                                   Email: jarisohn@bursor.com
                                   aleslie@bursor.com


                                   For Defendant McDonald’s Corporation

                                   /s/ Trenton H. Norris
                                   Trenton H. Norris
                                   ARNOLD & PORTER KAYE SCHOLER LLP
                                   3 Embarcadero Center, Ste. 1000
                                   San Francisco, CA 94111-4024
                                   Telephone: +1 415.471.3100
                                   Fax: +1 415.471.3400
                                   Attorneys for Defendant McDonald’s Corporation

                                    4
Case: 1:22-cv-01904 Document #: 16 Filed: 06/17/22 Page 5 of 6 PageID #:49



                                   Lori B. Leskin
                                   ARNOLD & PORTER KAYE SCHOLER LLP
                                   250 W. 55th Street
                                   New York, NY 10019-9710
                                   Telephone: +1 212.836.8000
                                   Fax: +1 212.836.8689
                                   Attorneys for Defendant McDonald’s Corporation




                                    5
     Case: 1:22-cv-01904 Document #: 16 Filed: 06/17/22 Page 6 of 6 PageID #:50



                                CERTIFICATE OF SERVICE
       The undersigned counsel hereby certifies that the above filing was served upon counsel

of record via the Court’s electronic filing system on June 17, 2022.




                                               /s/ Trenton H. Norris
                                               Trenton H. Norris
                                               ARNOLD & PORTER KAYE SCHOLER LLP
                                               3 Embarcadero Center, Ste. 1000
                                               San Francisco, CA 94111-4024
                                               Telephone: +1 415.471.3100
                                               Fax: +1 415.471.3400
                                               Attorneys for Defendant




                                                6
